 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORIC

 

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’ ‘The conference in this case is adjourned from _ J uly 7, 28 2

wo 0 ctober ! Y 2224 at | 00 arin Courtroom 20-C

SO ORDERED.

Dated: Mew York, New York —

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| | JOHN F. KEENAN |

United States District Judge

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